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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700                          OK/HAV
5
6    Attorney for Defendant
     CAROL ANN MARTIN
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,          )   No. CR. S-05-0195 DFL
                                        )
14                  Plaintiff,          )
                                        )   STIPULATION AND ORDER
15        v.                            )   CONTINUING STATUS CONFERENCE
                                        )
16   CAROL ANN MARTIN and               )
     JOE PARRILLA,                      )   Date: June 9, 2005
17                                      )   Time: 10:00 a.m.
                    Defendants.         )   Judge: Hon. David F. Levi
18                                      )
     _______________________________
19
20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendants, Carol Ann Martin and Joe Parrilla, through
22   their respective attorneys, that the status conference scheduled for June
23   9, 2005, may be continued to July 7, 2005, at 10:00 a.m.
24        This is a new case.     Defendant Martin has been released to a drug
25   treatment program where she expects to remain for several months; she is
26   also due to deliver her baby later this month.        Counsel for both parties
27   have received discovery but additional time is needed to review it and to
28   explore options for resolving the case without trial.                 The parties
             Case 2:05-cr-00195-DFL Document 23 Filed 06/14/05 Page 2 of 3


1    therefore agree that time under the Speedy Trial Act may be excluded
2    through July 7, 2005, pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv)
3    (Local Code T4).
4                                             Respectfully submitted,
5                                             QUIN DENVIR
                                              Federal Defender
6
7    Dated: June 9, 2005                      /s/ T. Zindel
                                              TIMOTHY ZINDEL
8                                             Assistant Federal Defender
                                              Attorney for CAROL ANN MARTIN
9
10   Dated: June 9, 2005                      /s/ M. Long
                                              MICHAEL LONG
11                                            Attorney for JOE PARRILLA
12
                                              McGREGOR SCOTT
13                                            United States Attorney
14
     Dated: June 9, 2005                      /s/ R. Taylor
15                                            ROBIN TAYLOR
                                              Assistant U.S. Attorney
16
17
                                          O R D E R
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19
           The status conference is continued to July 7, 2005, at 10:00 a.m.
20
     Time under the Speedy Trial Act is excluded through that date for the
21
     reasons state above and by agreement of the parties.
22
           IT IS SO ORDERED.
23
24
     Dated: 6/9/2005
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28                                                DAVID F. LEVI
                                                  United States District Judge

     Stipulation in U.S.A. v. C. Martin       2
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     Stipulation in U.S.A. v. C. Martin       3
